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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

MASON HOFF, Individually and on                  §
behalf of all others similarly situated,         §
                                                 §
        Plaintiff,                               §
                                                 §     CIVIL ACTION NO. 1:18-cv-00378
v.                                               §
                                                 §
LDWB, LLC; LDWB #2, LLC; THE                     §
LONESOME DOVE WESTERN                            §
BISTRO, LTD.; AND LDWB KNOX,                     §
LLC,                                             §
                                                 §
        Defendants.                              §


                     PROPOSED PRELIMINARY SCHEDULING ORDER


To the Honorable Judge Lee Yeakel, United States District Judge:

        Pursuant to Federal Rule of Civil Procedure 16, the parties submit this Proposed Partial

Scheduling Order.

                                           BACKGROUND

        This is a FLSA wage and hour case in which Plaintiff has moved for conditional class

certification; Defendants oppose that motion. Dkt. Nos. 3, 14, 19. Defendants moved to strike

portion of the declarations submitted in support of Plaintiff’s motion for conditional class

certification; Plaintiff opposed that motion. Dkt. Nos. 13, 17, 22. Given these pending motions,

the parties agree and request that the Court enter a Partial Scheduling Order that provides for a

more comprehensive Scheduling Order once the parties have more clarity on the scope of the

case.




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                         PROPOSED PRELIMINARY SCHEDULING ORDER

       Pending a ruling on Plaintiff’s Motion Expedited Conditional Certification and

Judicially-Supervised Notice Under Section 216(b), the parties propose that the Court issue the

following scheduling order:

       IT IS ORDERED THAT:

       1.       Unless the Court has stayed or dismissed the case in the interim, no later than the

date that is the later of thirty (30) days after (1) the close of the class Notice Period, in the event

the Court grants Plaintiff’s Motion for Expedited Conditional Certification and Judicially-

Supervised Notice Under Section 216(b) or (2) the Court’s denial of Plaintiff’s Motion for

Expedited Conditional Certification and Judicially-Supervised Notice Under Section 216(b), the

parties shall submit a proposed scheduling order that provides proposals for the following

deadlines:

   a) to file all amended or supplemental pleadings and to join additional parties (paragraph 1

       of the Court’s form scheduling order);

   b) to file designations of potential witnesses, testifying experts, and proposed exhibits and to

       serve on the other party the materials required by Federal Rule of Civil Procedure

       26(a)(2)(B) (paragraph 2 of the Court’s form scheduling order);

   c) to provide written offers of settlement and responses (paragraph 3 of the Court’s form

       scheduling order);

   d) to provide a report on alternative dispute resolution (paragraph 4 of the Court’s form

       scheduling order);

   e) to object to object to the reliability of an expert’s proposed testimony (paragraph 5 of the

       Court’s form scheduling order);

   f) to complete discovery (paragraph 6 of the Court’s form scheduling order); and

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   g) to file dispositive motions (paragraph 7 of the Court’s form scheduling order).



       SIGNED this _________ day of ____________________________, 2018.




                                                 LEE YEAKEL
                                                 UNITED STATES DISTRICT JUDGE

AGREED:


/s/Daniel A. Verrett
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ATTORNEYS FOR DEFENDANTS




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                                     CERTIFICATE OF SERVICE

        I certify that on August 17th, 2018, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system which will send notification of such filing in accordance with
the Federal Rules of Civil Procedure to the following counsel representing the defendants in this
action:

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